       Case 1:03-cr-00501-LAP Document 96 Filed 11/06/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

---------------------------------------x
                                       :
UNITED STATES OF AMERICA               :
                                       :
          -against-                    :                      ORDER
                                       :
                                       :
                                       :
                                                          03 CR 501-01 (LAP)
                                       :
Christian Del Rosarion                 :                     Docket #
---------------------------------------x




Loretta A. Preska             , DISTRICT JUDGE:
      Judge's Name


The C.J.A. attorney assigned to receive cases on this day,
Angus Bell                          is hereby ordered to assume

representation of the defendant in the above captioned

matter, NUNC-PRO-TUNC
                         October 27, 2020 .




                               SO ORDERED.




                                      UNITED STATES DISTRICT JUDGE




Dated: New York, New York
      11/6/20
